                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:17-cv-00045-CMA-KLM

STEPHANIE LOPEZ, individually,

       Plaintiff,

v.

CARL EDWARDS, individually, and
CASPER TRAILER SALES, INC., a Colorado Corporation,

       Defendants.


     DEFENDANTS’ RESPONSE OPPOSING PLAINTIFF’S MOTION FOR AWARD OF
        ATTORNEY’S FEES AND COSTS, PURSUANT TO 29 U.S.C. §216(B)


       Defendants Carl Edwards and Casper Trailer Sales, Inc., by and through their

counsel, GODFREY |JOHNSON, P.C., hereby respectfully submit their Response Opposing

Plaintiff’s Motion for Award of Attorney’s Fees and Costs, pursuant to 29 U.S.C. §216(b)

(“Motion”) as follows:

                                    I. INTRODUCTION
       Plaintiff’s Motion states that the jury’s verdict vindicated the violation of her rights.

ECF no. 148 at 11. It also vindicated Defendants. The jury found that Plaintiff was not an

employee of Defendants for the sixteen month period that was the most contentiously

litigated issue in the case, that Defendants had not willfully violated the Fair Labor

Standards Act (“FLSA”), and that Plaintiff did not work more time than what was reflected

on her timecards. Verdict Form (ECF no. 138).
       Plaintiff originally sought over $91,000 in unpaid wages. Exhibit A. The jury

ultimately awarded her $878.75. Plaintiff originally alleged she worked 70 hours per week

for Defendants, and only minimally reduced this estimate to 63 hours on her disclosures

and interrogatory responses. Id.; Exhibits B, C. The jury rejected this contention and found

only one week during which Plaintiff worked two hours of overtime.

       At trial, Plaintiff’s counsel attempted to demonstrate that Plaintiff was an employee

of Defendants for sixteen months prior to becoming a payroll employee. The jury rejected

this. Plaintiff also attempted to demonstrate that Defendants willfully violated the FLSA.

The jury also rejected this notion. The only period during which the jury found an FLSA

violation was March 8 to April 20, 2016, in which the jury found that Plaintiff was entitled

to pay for the time reflected on four timecards, amounting to $878.75.1 The jury never

found that Plaintiff worked more time than was reflected on her timecards.

       Now, Plaintiff seeks $166,463.50 in attorney fees and an additional $9,610.10 in

out-of-pocket expenses. Plaintiff’s attorney is not entitled to receive such a windfall.

Though Defendants acknowledge that the fee shifting provision under the FLSA is

mandatory, this case presents the Court with several justifiable bases to drastically

reduce if not altogether deny a fee award. First, the Court should find that even though

Plaintiff was a prevailing party, she is nevertheless not entitled to a fee award under the

standard dictated by Farrar v. Hobby, 506 U.S. 103 (1992). Alternatively, the Court should

reduce the amount of fees and costs significantly to account for Plaintiff’s limited degree


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 Plaintiff admitted at trial that she was paid roughly one thousand dollars for this time.
This is the subject of Defendants’ Motion to Amend the Judgment (ECF no. 149).


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of success in line with Hensley v. Eckerhart, 461 U.S. 424 (1983). Courts, including this

one, have reduced a plaintiff’s fee award considerably in cases with a similarly

unsuccessful outcome relative to the judgment originally sought.

                                    II. ARGUMENT
A. Standard For Fee Awards Under Fee Shifting Statutes

       The U.S. Supreme Court in Hensley v. Eckerhart laid out the standard applicable

to determining a reasonable rate for cases where Congress has authorized fees to a

“prevailing party.” 461 U.S. 424, 455 n.7 (1983). The FLSA states that the Court “shall, in

addition to any judgment awarded to the plaintiff or plaintiffs, allow a reasonable attorney’s

fee to be paid by the defendant, and costs of the action.” 29 U.S.C. § 216(b). As indicated

by the language of the provision, no fee is permissible until the plaintiff has crossed the

“statutory threshold” of prevailing party status. Texas State Teachers Ass’n v. Garland

Indep. Sch. Dist., 489 U.S. 782, 789 (1989). Plaintiffs “may be considered ‘prevailing

parties’ for attorney’s fees purposes if they succeed on any significant issue in the

litigation which achieves some of the benefit the parties sought in bringing the suit.”

Hensley, 461 U.S. at 433; Fort Morgan v. GASP, 85 P.3d 536, 541 (Colo. 2004) (holding

that a “prevailing party” in Colorado is “one who prevails on a significant issue in the

litigation and derives some of the benefits sought by the litigation.”).

       “In some circumstances, even a plaintiff who formally ‘prevails’ under [a fee shifting

statute] should receive no attorney’s fees at all.” Farrar v. Hobby, 506 U.S. 103, 115

(1992). The three factors for a Court to consider are “(1) the difference between the

judgment recovered and the judgment sought, i.e. whether the recovery was ‘merely



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technical or de minimis’; (2) ‘the significance of the legal issue on which the plaintiff

prevailed’; and (3) ‘the public purpose served’ by the litigation.” Roane v. Frankie’s Bar &

Grill, No. 16-CV-02936-CMA-NYW, 2018 WL 4076287, at *1 (D. Colo. Aug. 27, 2018)

(citing Farrar, 506 U.S. at 117 (O’Conner, J., concurring); Gudenkauf v. Stauffer

Commc’ns, Inc., 158 F.3d 1074, 1078 (10th Cir. 1998)).

       If a Court determines that a “prevailing party” is entitled to fees, the Court’s first

step is to calculate the lodestar amount, which is comprised of the “the number of hours

reasonably expended on the litigation multiplied by a reasonable hourly rate.” Stockard v.

Red Eagle Res. Corp., 972 F.2d 357 (10th Cir. 1992) (citing Hensley, 461 U.S at 433).

Then, “a court must consider whether an upward or downward adjustment is appropriate.”

Id. (citing 461 U.S at 434). “In evaluating whether the lodestar amount should be adjusted

when the prevailing party obtained only partial success, the court must consider two

questions: (1) whether the claims on which the plaintiff did not prevail were related to

those on which the plaintiff did prevail; and (2) whether ‘the plaintiff achieve[d] a level of

success that makes the hours reasonably expended a satisfactory basis for making a fee

award.’” Id.; accord Flitton v. Primary Residential Mortg., Inc., 614 F.3d 1173, 1176-77

(10th Cir. 2010). A reasonableness determination must also take into consideration any

Rule 68 offer. Dalal v. Alliant Techsystems, Inc., 182 F.3d 757, 761 (10th Cir. 1999).

       The district court has considerable discretion in determining the size of a fee

award, as is appropriate given “‘the district court’s superior understanding of the litigation

and the desirability of avoiding frequent appellate review of what essentially are factual

matters.’” Spulak v. K Mart Corp., 894 F.2d 1150, 1160 (10th Cir.1990).



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B. Plaintiff Was Nominally The Prevailing Party

       Defendants do not at this time contest that Plaintiff is a prevailing party, having

obtained a verdict of $878.75. However, Defendants have filed a motion seeking to

amend the judgment to reflect the fact that Plaintiff admitted she was paid approximately

$1000 for the period in which the jury found she was owed $878.75. If the Court amends

the judgment, then Defendants would not agree that Plaintiff is a prevailing party entitled

to any attorney fee award, because Plaintiff would not have attained any benefit she

sought in bringing the suit. Cf. Hensley, 461 U.S. at 433.

C. Plaintiff Is Not Entitled To Any Fees Under The Farrar Standard

       Despite being a prevailing party, Plaintiff is not entitled to any fees, because they

would not be reasonable under the standard of Farrar v. Hobby, 506 U.S. 103, 115 (1992).

The three factors to be reviewed are (1) the difference between the judgment recovered

and the judgment sought, i.e. whether the recovery was “merely technical or de minimis”;

(2) “the significance of the legal issue on which the plaintiff prevailed”; and (3) “the public

purpose served” by the litigation. Roane, 2018 WL 4076287, at *1.

       As discussed above, the difference between the judgment sought and the

judgment recovered was significant. Plaintiff originally sought $91,000 in unpaid wages,

excluding liquidated damages and penalties. Exhibit A. Plaintiff gradually reduced her

estimate of unpaid wages as it became apparent that she did not have the evidentiary

support for such hours. Exhibits B, C; Exhibit D (Plaintiff’s demonstrative exhibits); Exhibit

E (Plaintiff’s settlement demand). At trial, Plaintiff did not specify the number she was




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seeking from the jury. The recovery of $878.75 at trial, given the original demand and the

expenditure of significant resources, can only be viewed as de minimis.

       This recovery is less substantial than in Roane v. Frankie’s Bar & Grill, where this

Court found that plaintiff was entitled to fees for a recovery of $1 on a $10,000 demand

plus unspecified amount in emotional distress and punitive damages. 2018 WL 4076287,

at *2-3. Unlike Roane, this case is not a mixed motive case and can be easily

distinguished from cases such as Gudenkauf v. Stauffer Commc’ns, Inc., 158 F.3d 1074,

1081 (10th Cir. 1998), in which the court held that “statutes governing mixed motive cases

[support] an award of attorney’s fees … notwithstanding the lack of a damages award.”

In fact, to the contrary, the Supreme Court has held that a plaintiff’s monetary success in

a private civil rights suit must be the primary determinant of the attorney’s fee. Farrar, 506

U.S. at 114 (“Where recovery of private damages is the purpose of ... civil rights litigation,

a district court, in fixing fees, is obligated to give primary consideration to the amount of

damages awarded as compared to the amount sought.”).

       In addition, Plaintiff did not prevail on any significant legal issue. The most

significant legal issue in the case was whether Plaintiff was an employee of Defendants

during the sixteen month period prior to when she was on payroll—an issue on which

Defendants prevailed. That issue was litigated through a motion for partial summary

judgment pertaining to that time period (ECF nos.65, 68, 71, 72, 79), presentation by

experts involving a F.R.E. 702 challenge (ECF nos. 80, 81, 91, 94), and extensive briefing

on the jury instructions and motions in limine (ECF nos. 95, 07, 100, 101, 108, 109, 129,

130). That issue also took up a majority of the testimony time of Ms. Lopez, Mr. Edwards,



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various witnesses, and both handwriting experts. The parties did not spend any extensive

time or resources prior to or during trial litigating the issue of the period covered by the

four time cards. In fact, Plaintiff admitted she was paid roughly $1000 for this period. See

generally Defendants’ Motion to Amend (ECF no. 149). The major contention during this

final period, in Plaintiff’s own words, was that she worked more time than what was

demonstrated on the four timecards. Id. at 3. As discussed above, another major issue in

the case was whether Plaintiff worked more time than was reflected on her timecards

generally (up to 70 hours). The jury found she did not.

       Finally, there was no public purpose served by this litigation. The jury did not find

that Defendants willfully violated the FLSA. At trial, Carl Edwards’ other employees and

independent contractors testified on his behalf and indicated that he was a fair employer.

Mr. Edwards pays his employees an hourly wage well above minimum wage, including

Ms. Lopez, whom Mr. Edwards paid $10.00 to 15.00 per hour despite her little training

and education. Mr. Edwards has also had to pay his own attorneys substantial sums to

avoid further liability for this sui generis wage dispute. No public purpose would be served

by punishing Defendants further in this case.

       In sum, the standards set forth in Farrar indicate that no fee award would be

reasonable, despite the fact that Plaintiff is nominally the prevailing party.

D. The Lodestar Should Be Adjusted Slightly To Reflect Isolated Excessive Billing

       If the Court disagrees, then it must determine what a reasonable fee would be.

“The most useful starting point for determining the amount of a reasonable fee is the

number of hours reasonably expended on the litigation multiplied by a reasonable hourly



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rate.” Hensley, 461 U.S. at 433. “The prevailing party must make a ‘good-faith effort to

exclude from a fee request hours that are excessive, redundant, or otherwise

unnecessary.’” Jane L. v. Bangerter, 61 F.3d 1505, 1510 (10th Cir. 1995) (quoting

Hensley, 461 U.S. at 434). The burden is on the party requesting fees to prove that its

counsel exercised proper billing judgment. Case v. Unified Sch. Dist. No. 233, Johnson

Cnty., Kan., 157 F.3d 1243, 1250 (10th Cir. 1998). As discussed in Plaintiff’s Motion,

Defendants do not challenge Plaintiff’s hourly rate as reasonable.

       With regard to the hours reasonably expended on the litigation, Defendants

challenge the following entries, which combine to over 34 hours of billing:

 Attorney       Date      Description                          Hours Rate ($/hr)   Total
 Donna                    Work on response to Motion in
 Dell’Olio      8/20/18   Limine                               7.34   $400         $2,936
 Donna                    Work on objections to jury
 Dell’Olio      8/22/18   instructions                         11.5   $400         $4,600
 Donna                    Work on demonstrative exhibits,
 Dell’Olio      8/23/18   finish objections to instructions    6.25   $400         $2,500
                          Conduct legal research to
                          respond to Def’s Motion in
                          Limine, review and compare
                          competing jury insctructions,
                          draft response to Def’s Motion in
 Julie Yeagle   8/20/18   Limine                               3      $350         $1,050
                          Review and compare jury
 Julie Yeagle   8/21/18   instructions to draft objections     2      $350         $700
                          Review Defendant’s Proposed
                          Jury Instructions; identify
                          objections to Defendant’s
                          instructions; gather case law
                          supporting Plaintiff’s objections;
                          prepare document outlining
 Ian                      Plaintiff’s objections to
 Kalmanowitz 8/22/18      Defendants’ instructions             4.3    $400         $1,720



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       These entries show that Plaintiff’s counsel worked approximately 10 hours on

Plaintiff’s Response to Defendants’ Motion in Limine (ECF no. 101) and approximately 24

hours on Plaintiff’s Response to Defendants’ Proposed Jury Instructions (ECF no. 108).

By contrast, Defendants’ counsel worked 5.5 hours responding to Plaintiff’s Motion in

Limine and 4.5 hours responding to Plaintiff’s proposed jury instructions. The lodestar

should be reduced by at least 24 hours to reflect proper billing judgment.

E. The Lodestar Should Be Adjusted Significantly Under Hensley To Account for
   Plaintiff’s Very Limited Success

       “It is after arriving at the lodestar amount that a court must determine whether an

upward or downward adjustment is appropriate by considering the degree of success

achieved by the prevailing party.” Reyes v. Snowcap Creamery, Inc., No. 11-CV-02755-

JLK-KMT, 2014 WL 2459740, at *4 (D. Colo. June 2, 2014) (citing Hensley, 461 U.S. at

434). This is based on two questions: “First, did the plaintiff fail to prevail on claims that

were unrelated to the claims on which he succeeded? Second, did the plaintiff achieve a

level of success that makes the hours reasonably expended a satisfactory basis for

making a fee award?” Hensley, 461 U.S. at 434.

       1. Plaintiff’s Successful Claim Was Not Part Of One Bundle Of Proof With
          Unsuccessful Claims

       Plaintiff claims that “[t]he facts supporting Plaintiff’s FLSA claim for the time periods

January 4, 2014 to March 7, 2016, for which Plaintiff was not awarded damages, and

March 8, 2016 to April 20, 2016, for which Plaintiff was awarded damages, were part of

‘one bundle of proof’ concerning Defendants’ failure to pay wages and overtime.” ECF

no. 148 at 10. However, this does not account for the vast amount of litigation resources



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expended solely on the period prior to May 2015 when Plaintiff became a payroll

employee. Although Plaintiff only plead one FLSA cause of action, including both

minimum wage and overtime, the verdict form separated Plaintiff’s claims into three

distinct time periods. As the Court can observe from the verdict form, Ms. Lopez did not

prevail in any way on the two time periods prior to March 8, 2016. ECF no. 138. Plaintiff

should not recover for time that was not related to a successful claim. See McGrath v.

Cent. Masonry Corp., No. 06-CV-00224-CMA-CBS, 2010 WL 11549416, at *6 (D. Colo.

Feb. 26, 2010) (“The facts supporting Plaintiff’s unsuccessful CWCA claim were not part

of ‘one bundle of proof’ with his successful FLSA claim.”).

        Each of the following billing entries pertains only to the involvement of experts and

Defendants’ Motion for Partial Summary Judgment, which were solely relevant to the time

period prior to May 2015:

 Attorney    Date        Description                        Hours      Rate ($/hr)   Total
 Donna
 Dell’Olio   9/6/17      Work on 3rd Set of discovery       0.83       $400          $332
                         Locate handwriting expert,
                         research and telephone calls,
                         (3.33) hours prepare and send
 Donna                   email (including identifying
 Dell’Olio   10/2/17     documents)                         4.16       $400          $1,664
                         Work on expert disclosures
 Donna                   including reading report and
 Dell’Olio   10/26/17    working with expert                1.4        $400          $560
 Donna
 Dell’Olio   12/4/17     Read Joseph report                 1          $400          $400
                         (Times) work on response to
 Donna                   motion for partial summary
 Dell’Olio   2/6/18      judgment                           6.42       $400          $2,568
 Donna                   Work on response to motion for
 Dell’Olio   2/7/18      summary judgment                   3          $400          $1,200



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 Donna                   Work on response to motion for
 Dell’Olio   2/8/18      summary judgment                   2           $400          $800
 Donna                   Work on response to motion for
 Dell’Olio   2/11/18     partial summary judgment           5.67        $400          $2,268
 Donna                   Work on response to motion for
 Dell’Olio   2/13/18     partial summary judgment           6.17        $400          $2,468
 Donna                   Read Reply in Support of Motion
 Dell’Olio   2/27/18     for PSJ                            0.5         $400          $200
                         Review materials for Lily
 Donna                   Nierenberg regarding expert
 Dell’Olio   3/6/18      witness                            1.17        $400          $468
                         Respond to Lily Nierenberg
                         regarding conferral on 702;
 Donna                   telephone call with Wendy
 Dell’Olio   3/7/18      Carlson                            0.67        $400          $268
 Donna                   Read court order denying Partial
 Dell’Olio   5/17/18     Summary Judgment                   0.5         $400          $200
 Donna                   Work with Julie Yeagle on expert
 Dell’Olio   9/21/18     testimony                          6.34        $400          $2,536
                         Review Motion to Exclude Expert
 Julie                   Testimony and begin drafting
 Yeagle      7/2/18      response                           1           $350          $350
 Julie                   Draft: Response to Defendants’
 Yeagle      7/8/18      motion to exclude expert           4           $350          $1,400
 Julie                   Draft: Response to Motion to
 Yeagle      7/9/18      Exclude Wendy Carlson              6           $350          $2,100
 Julie                   Draft: Response to Motion to
 Yeagle      7/10/18     Exclude Wendy Carlson              10          $350          $3,500
                         Email TO Carlson and make
 Julie                   arrangements for trial
 Yeagle      8/13/18     preparation                        0.34        $350          $119
                         Preparation: Meeting with
 Julie                   Wendy Carlson to prepare for
 Yeagle      9/7/18      trial                              1.25        $350          $438
 Julie                   Meet with expert Wendy Carlson
 Yeagle      9/25/18     to prepare for trial testimony     1.5         $350          $525

       This amounts to over $24,000 in billing on aspects of the case that are not part of

the “bundle of proof” related to Plaintiff’s successful claim. In addition to any reduction to



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the lodestar to account for generally limited success, Defendants request that the Court

exclude these entries from the fee award altogether.

       2. Plaintiff Did Not Achieve Excellent Results

       Even if the Court views Plaintiff’s claims as related, it should still adjust the lodestar

to “award only that amount of fees that is reasonable in relation to the results obtained.”

Hensley, 461 U.S. at 440; Jane L., 61 F.3d at 1511 (“the district court must make a

qualitative assessment to determine what less-than-perfect results are ‘excellent,’

justifying full recovery, or to what extent plaintiffs’ ‘limited success’ should effect a

reduction in the lodestar.”). The district court’s assessment of the degree of success is

entitled to great weight. Hernandez v. George, 793 F.2d 264, 268 (10th Cir. 1986); but

see Nephew v. City of Aurora, By & Through Mayor & City Council, 766 F.2d 1464, 1467

(10th Cir. 1985), on reh’g sub nom. Nephew v. City of Aurora, By & Through Its Mayor &

City Council, 830 F.2d 1547 (10th Cir. 1987) (finding that district court abused its

discretion by not discounting the fee award in light of the fact that the damages awarded

to prevailing plaintiffs were minimal).

       Plaintiff asserts that she obtained “excellent results.” ECF no. 148 at 10. However,

in McGrath v. Cent. Masonry Corp., this Court stated where a jury awards as little as four

percent of the sought amount, the results “are far less than excellent”. No. 06-CV-00224-

CMA-CBS, 2010 WL 11549416, at *7 (D. Colo. Feb. 26, 2010) (refusing to reduce award

on grounds that 42% recovery is significant). In this case, the jury awarded less than 1%

of the amount that Plaintiff originally sought. The results were not excellent.




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       While courts have rejected an approach that asks whether the recovery is small

compared to the amount of the fees, courts have embraced an approach that asks

whether the recovery is small compared to the amount of recovery sought. See generally

Ramos v. Lamm, 713 F.2d 546, 556 (10th Cir. 1983); Bruno v. W. Elec. Co., 618 F. Supp.

398, 402 (D. Colo. 1985) (“This is not to imply that the amount of damages awarded is

irrelevant to a court’s determination of the extent of the plaintiff’s success. In fact, the

award of damages may be of crucial importance in evaluating whether the relief obtained

justified the expenditure of attorney time.”). The Tenth Circuit has upheld the use of a

percentage reduction in fees to account for partial success on the merits. Stockard v. Red

Eagle Res. Corp., 972 F.2d 357 (10th Cir. 1992).

       Here, in addition to reducing Plaintiff’s fee award by the amount of work that was

not related to her successful claims, the Court should reduce the lodestar by a percentage

to account for the fact that Plaintiff did not achieve excellent results.

       3. Percentage Reductions To Lodestar In Comparable Cases

       The following comparable cases indicate that a drastic reduction to a lodestar

amount is necessary in these circumstances: Roane, 2018 WL 4076287, at *4 (finding

that 45% reduction was justified considering “[a] forty-five percent reduction reflects

Plaintiff’s tangible and prevailing victory on her pregnancy discrimination claim, while also

considering Defendants’ success in avoiding substantial monetary damages as well as

defending against Plaintiff’s retaliation and hostile work environment claims”); Mendoza

v. Valley Park Apartments, Inc., No. 13-CV-00002-PAB-KMT, 2014 WL 984687, at *8-9

(D. Colo. Mar. 13, 2014) (finding that reduction of fees by one-third to $16,950.01 was



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reasonable in light of recovery of $354,703.05 in damages out of $27,902,065.58

originally sought); Pearson v. Ross G. Stephenson Assocs., Inc., No. CIV. A. 91-2179-L,

1992 WL 223809, at *3 (D. Kan. Aug. 18, 1992) (reducing the lodestar by 25 percent to

$6,540.00 based upon the fact that the plaintiffs obtained only 50% of 35,994 they

originally requested); Barfield v. New York City Health & Hosps. Corp., 537 F.3d 132, 152

(2d Cir. 2008) (finding that FLSA award of $887.25, before liquidated damages, “does not

compel an award for the full attorney’s fees incurred after denial of class certification,”

and upholding reduction of lodestar by 50% to $49,889); Hilton v. Exec. Self Storage

Assocs., Inc., No. CIV.A. H-06-2744, 2009 WL 1750121, at *14 (S.D. Tex. June 18, 2009)

(allocating a 67% reduction to the plaintiff’s requested fee award, after a jury awarded the

plaintiff $500, less than one percent of the plaintiff’s sought recovery, $54,074).

       By far the most comparable case is Reyes v. Snowcap Creamery, Inc., No. 11-CV-

02755-JLK-KMT, 2014 WL 2459740, at *6 (D. Colo. June 2, 2014). In that case, the

plaintiff was employed for a total of 25 months. Despite the fact that he claimed he was a

non-exempt employee for the entire period, the court found he was an non-exempt

employee for only 5 months and exempt for 20 months. “The vast majority of the time

taken up during the trial was related to the exemption issue.” Id. at *6. After trial, the Court

awarded Reyes $3,343 of the $182,000 he was claiming (some of which came from

employer failing to pay for his last week). Id. at *1.

       Judge Kane applied a 75% reduction to the lodestar, and stated as his justification:

       Although I hope to have made it abundantly clear that Mr. Reyes only
       nominally won this lawsuit, I do wish Snowcap to incur a reasonable
       financial penalty, in accord with the FLSA, to reinforce that there are
       consequences for employers who violate the law. I exercise my discretion


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       to reduce the lodestar by 75%, a reduction that better represents the full
       value of legal work required to plead and prove Mr. Reyes's overtime due
       as an hourly line cook and his claim that he had not been paid for his last
       workweek. A 75% reduction of the gross lodestar results in a final fee award
       of $36,111.53.

Id. at *6. Defendants urge this Court to reduce the lodestar even more significantly to

reflect the value of the legal work required to plead and prove that Plaintiff was not paid

for four weeks of time as reflected on her timecards, considering like Reyes that

Defendants prevailed on the most significant issues in the litigation.

F. Additional Considerations

       1. Johnson Factors

       Plaintiff spends considerable time discussing additional factors from Johnson v.

Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974), and admits as to several

that they don’t weigh in favor of her recovery.2 However, Plaintiff’s analysis on the other

factors is misguided. These factors weigh against Plaintiff.

       As to the novelty and difficulty of the questions, Plaintiff argues that Defendants

advanced novel legal theories and filings and lists for example a three page letter that



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  The Supreme Court in Hensley stated that district court also may consider the factors
identified in Johnson, though it noted “that many of these factors usually are subsumed
within the initial calculation of hours reasonably expended at a reasonable hourly rate.”
461 U.S. at 434 n.9. The Johnson factors are: (1) the time and labor required; (2) the
novelty and difficulty of the questions; (3) the skill necessary to properly perform the legal
service; (4) the preclusion of other employment by the attorney due to acceptance of the
case; (5) the customary fee; (6) whether the fee is fixed or contingent; (7) time limitations
imposed by the client or the circumstances; (8) the amount involved and the results
obtained; (9) the experience, reputation, and ability of the attorneys; (10) the
“undesirability” of the case; (11) the nature and length of the professional relationship with
the client; and (12) awards in similar cases.



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was sent to Plaintiff containing Defendants’ Rule 68 offer early in the course of litigation.

ECF no. 148 at 6. None of the theories in that letter were novel (see generally ECF no.

148-5), nor did Plaintiff respond. In fact, that letter contains black letter principles of law,

much of which was incorporated into the Court’s jury instructions.

       Defendants’ motion for partial summary judgment was similarly not based on novel

legal theories. See generally ECF no. 65. While it is true that Carl Edward’s individual

liability was somewhat nuanced (See Court’s Order, ECF no. 122, and responding briefs

ECF nos. 123 and 124), that is a product of the FLSA and not Plaintiff’s litigation strategy.

Finally, although undersigned would note that Defendants’ 702 motion did contain novel

theories for exclusion of a handwriting expert (ECF no. 80), the very fact that Plaintiff saw

it as repetitive of already litigated issues in a similar case should preclude her from

recovering any enhancement for novel legal theories.

       As to the preclusion of other employment, Defendants acknowledge that Plaintiff’s

counsel could have spent its time working on other cases. However, this does not in and

of itself justify any recovery on a fee award. “Claims that are trivial, and thus just short of

frivolous, should not be encouraged by awarding substantial attorneys’ fees to attorneys

who file them.” Bruno v. W. Elec. Co., 618 F. Supp. 398, 402-03 (D. Colo. 1985). The

purpose of fee shifting provisions is “not to give private lawyers an unwarranted windfall,

but rather to ensure compensation ‘adequate to attract competent counsel.’” Robinson v.

City of Edmond, 160 F.3d 1275, 1281 (10th Cir. 1998).

       As to whether the fee is fixed or contingent, this is helpful in demonstrating the

attorney’s expectations when she accepted the case.  Johnson, 488 F.2d at 718.



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Plaintiff’s Motion states that Plaintiff retained her counsel on a contingency fee basis. ECF

no. 148 at 7. Therefore, at most, Plaintiff’s counsel expected to receive a percentage of

the recovery. Given the small recovery, this factor is not a basis for a fee enhancement.

       With regard to time limitations, this case ran on a normal discovery and trial

schedule, with several extensions granted (including trial) as well as phone appearances

permitted. Thus this factor is not a basis for a fee award or enhancement.

       With regard to the undesirability of the case, the case should have been

undesirable to Plaintiff’s counsel based solely on the low probability of success. This too

is no argument for fees.

       2. Indigence of Plaintiff

       While Defendants and their counsel are sensitive to the fact that Ms. Lopez is

indigent, this is not an accepted factor to increase a fee award and is already built into

the concept of the fee shifting provision. See, e.g., Hernandez v. George, 793 F.2d 264,

269 (10th Cir. 1986) (stating that “the purpose behind the fee authorization in § 1988 [] is

to encourage attorneys to represent indigent clients and to act as private attorneys

general in vindicating federal civil rights policies”); compare to Cantrell v. Int’l Bhd. of Elec.

Workers, 69 F.3d 456, 458-59 (10th Cir.1995) (listing indigence of non-prevailing party as

factor to consider to determine whether to deny costs). As discussed above in relation to

the contingent fee, Plaintiff is obligated to her counsel only for a portion of the limited

recovery obtained and has not incurred any personal liability to pay the fees included in

the Motion. Thus, Plaintiff’s indigence should not be a factor to enhance the fee award.




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       3. Defendants’ Rule 68 Offer

       Defendants made an offer pursuant to Fed. R. Civ. P. 68 early in the litigation. See

generally ECF no. 148-5.

       In determining what fee is reasonable ..., the district court must take into
       consideration the amount of the Rule 68 offer, the stage of the litigation at
       which the offer was made, what services were rendered thereafter, the
       amount obtained by judgment, and whether it was reasonable to continue
       litigating the case after the Rule 68 offer was made.

Dalal, 182 F.3d at 76; see also Haworth v. State of Nev., 56 F.3d 1048, 1052 (9th Cir.

1995) (“When a plaintiff rejects a Rule 68 offer, the reasonableness of an attorney fee

award under the FLSA will depend, at least in part, on the district court’s consideration of

the results the plaintiff obtained by going to trial compared to the Rule 68 offer.”).

       While Defendants offered only $1.00, Defendants made this offer in good faith and

documented for Plaintiff the reasons that she should not continue litigating the case. The

jury verdict only reinforces Defendants’ position that Plaintiff’s evidence did not justify

continuing the case to trial. It is also relevant that at the date that Defendants made their

offer, Plaintiff had not disclosed her timecards for March and April 2016. Exhibit F

(Plaintiff’s supplemental disclosures). Thus, $1.00 was a reasonable offer and should be

considered by this Court when determining whether it was reasonable for Plaintiff to

continue litigating the case after the Rule 68 offer was made.

G. Costs

       Defendants did not challenge the following costs Plaintiff listed in her bill of costs:

filing fees, service fees, and court reporter fees. The total of these costs is $2,372.27

(ECF no. 151), which should not be included in any fee award to Plaintiff.



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       Defendants do however challenge the remainder of Plaintiff’s costs, some of which

should be reduced commensurate with this Court’s adjustment to the lodestar amount

and some of which should be denied outright. Under 29 U.S.C. § 216(b), the Court may

award reasonable out-of-pocket expenses beyond those normally allowed under Fed. R.

Civ. P. 54(d) and 28 U.S.C. § 1920. Smith v. Diffee Ford-Lincoln-Mercury, Inc., 298 F.3d

955, 969 (10th Cir. 2002).

       The following costs do not appear unreasonable or unnecessary on their face:

postage, medical reports, police reports, attorney mileage for travel to and from Denver,

lodging, parking. However, these costs should be reduced commensurate with the

lodestar amount for the reasons discussed above. The total of these costs without any

reduction is $1,265.60.

       As to the remaining costs, the Court should deny them. Plaintiff has provided no

justification for her photocopy costs ($1,018.73), such as an invoice or other explanation

as to why these costs were reasonable and necessary. Moreover, Defendants’ counsel

prepared the trial binders, and did not seek any participation from Plaintiff in that cost.

Plaintiff also provided no justification for its “legal research” cost ($200.00). Plaintiff also

does not provide any justification for the “Porter investigations” cost ($1,598.40). The

invoices don’t provide detailed information on what witnesses were contacted in order to

allow the Court to determine the reasonableness of the service. In any case, they were

not necessary or crucial witnesses because Plaintiff only called two fact witnesses briefly

by telephone: Justin Melat and Antoinette Lenzotti. As for the “boards,” this cost ($435.10)

is also not reasonable. With the exception of one showing the bird’s eye view of the



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neighborhood, these exhibits were not stipulated and Plaintiff did not use the boards at

trial. The stipulated exhibit could have been presented on the projector like the other

exhibits. Thus, this was not a reasonable or necessary cost.

       Finally, the Tenth Circuit has clearly articulated that expert witness fees are not

recoverable under 29 U.S.C. § 216(b). Gray v. Phillips Petroleum, 971 F.2d 591, 594

(10th Cir.1992) (holding that “does not provide explicitly authority to award expert witness

fees” to the prevailing party). Thus, Plaintiff’s expert witness fee ($2,720.00) cannot be

shifted to Defendant.

       The total of these unreasonable and unnecessary costs is $5,972.23.

                                  III. CONCLUSION
       For the foregoing reasons, Defendants respectfully request that this Court deny

Plaintiff’s motion and award Plaintiff no fees or a substantially reduced fee award.



       Respectfully submitted this 16 day of November, 2018.

                                                 GODFREY | JOHNSON, P.C.

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                           CERTIFICATE OF SERVICE

The undersigned certifies that on November 16, 2018, a true and correct copy of the
foregoing was filed and served via ECF/PACER on all parties of record, as follows:

Donna Dell’Olio
Julie Yeagle
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Colorado Springs, CO 80903


                                             /s/Lily E. Nierenberg
                                             Lily E. Nierenberg




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